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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


                                                )
FBR CAPITAL MARKETS & CO.,                      )
                                                )
                Petitioner,                     )
                                                )
       v.                                       )   Civil No. 13-00535 (RCL)
                                                )
PETER D. HANS,                                  )
                                                )
               Respondent.                      )
                                                )



                                            ORDER

       Upon consideration of Petitioner’s Petition To Partially Vacate Arbitration Award [2], it

is hereby ORDERED that the Petitioner’s Petition is DENIED.


       Upon consideration of Respondent’s Motion to Confirm Arbitration Award [8], it is

hereby ORDERED that the Respondent’s Motion is GRANTED.


       It is further ORDERED that judgment is entered in favor of the Respondent against the

Petitioner in the amount of $267,960, plus interest from March 20, 2013 until paid.


       SO ORDERED.

       Signed by Royce C. Lamberth, U.S. District Judge, on October 18, 2013.
